Case 8:19-cv-01210-CEH-SPF Document 45 Filed 04/13/20 Page 1 of 2 PageID 3641



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JAMES FICKEN and SUNCOAST FIRST
TRUST,

       Plaintiffs,

v.                                                               Case No: 8:19-cv-1210-T-36SPF

CITY OF DUNEDIN, FLORIDA,
DUNEDIN CODE ENFORCEMENT
BOARD, MICHAEL BOWMAN,
LOWELL SUPLICKI, ARLENE
GRAHAM, KEN CARSON, WILLIAM
MOTLEY, DAVE PAULEY and BUNNY
DUTTON,

      Defendants.
___________________________________/

                                            ORDER

       In order to facilitate the Court’s review of certain documents, the parties should submit to

Chambers, in a binder, a courtesy copy of any document filed electronically in the Tampa Division

that exceeds twenty-five (25) pages (including exhibits) in length. Courtesy copies need not be

provided simultaneously with the electronic filing of the document. However, they should be

submitted as promptly as possible and may be provided via United States Mail or other reliable

service.

       Accordingly, it is hereby

       ORDERED:

       1.      A party who electronically files a document exceeding twenty-five (25) pages

               (including exhibits) in length must provide a courtesy copy of the document

               (including exhibits) in paper format to Chambers.
Case 8:19-cv-01210-CEH-SPF Document 45 Filed 04/13/20 Page 2 of 2 PageID 3642



       2.     Plaintiffs are directed to provide to Chambers, in a binder, a courtesy copy of the

              Dispositive Motion for Summary Judgment and Incorporated Memorandum of Law

              (Doc. 43) (including exhibits) within TEN (10) DAYS from the date of this Order.

       3.     Defendants are directed to provide to Chambers, in a binder, a courtesy copy of the

              Dispositive Motion for Summary Judgment and Incorporated Memorandum of Law

              (Doc. 42) (including exhibits) within TEN (10) DAYS from the date of this Order.

       DONE AND ORDERED in Tampa, Florida on April 13, 2020.




Copies to:
Counsel of Record and Unrepresented Parties, if any




                                               2
